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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              WACO DIVISION


VOIP-PAL.COM, INC.                        CIVIL ACTION NO. 6:21-cv-672-ADA

           Plaintiff,

     v.

VERIZON COMMUNICATIONS, INC. et al.

           Defendants.


VOIP-PAL.COM, INC.                        CIVIL ACTION NO. 6:21-cv-674-ADA

           Plaintiff,

     v.

T-MOBILE USA, INC.

           Defendant.




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                       SECOND AMENDED SCHEDULING ORDER

       On July 12, 2023, the Court removed from the Court’s calendar and stayed all pretrial

disclosure deadlines pending the setting of a new trial date and entry of a scheduling order based

thereon. See, e.g., Case No. Dkt. No. 6:21-cv-672-ADA, text order dated July 12, 2023. On

January 5, 2024, the Court set a new Final Pretrial Conference date in the Verizon case for July 9,

2024 at 2p CT. Id. at Dkt. No. 161. On January 5, 2024, the Court set a new trial date in the

Verizon case for August 19, 2024. Id. at Dkt. No. 162. On February 9, 2024, the Court offered a

new Final Pretrial Conference date in the T-Mobile case for July 15, 2024, at 1:30p CT. On March

15, 2024, the Court set a new trial date in the T-Mobile case for November 4, 2024. See Case No.

Dkt. No. 6:21-cv-674-ADA at Dkt. No. 239. After meeting and conferring, the parties jointly

submit the following proposed schedule for the remaining pretrial dates to be entered in these cases

inclusive of the dates that have already been set and offered by the Court. Accordingly, the Court

enters the following schedule:

                          Date                               Event
                      April 4, 2024             Serve Pretrial Disclosures (jury
                                            instructions (VoIP-Pal to serve initial
                                              draft of jury instructions), exhibits
                                               lists, witness lists, discovery and
                                                    deposition designations).
                      May 2, 2024                Serve objections to pretrial
                                              disclosures/rebuttal disclosures
                                            (Defendants to serve responsive draft
                                                    of jury instructions).
                     May 23, 2024                 Serve objections to rebuttal
                                              disclosures; file Motions in limine.
                      June 6, 2024           File Joint Pretrial Order and Pretrial
                                                Submissions (jury instructions,
                                             exhibits lists, witness lists, discovery
                                               and deposition designations); file
                                               oppositions to motions in limine.


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              Date                              Event


                                 From this date onwards, the parties
                                 are obligated to notify the Court of
                               any changes to the asserted patents or
                                  claims. Such notification shall be
                                 filed on the docket within seven (7)
                               days of the change and shall include a
                               complete listing of all asserted patents
                               and claims. If a change to the asserted
                                  patents or claims requires leave of
                                    court (for example, if a party is
                                moving for leave to assert additional
                                   claims), notification shall not be
                                required until the Court grants leave,
                                 at which point the notification must
                                    be filed within seven (7) days.
          June 20, 2024           File Notice of Request for Daily
                               Transcript or Real Time Reporting. If
        October 11, 2024            a daily transcript or real time
      (Request for reporting      reporting of court proceedings is
       for T-Mobile case)      requested for trial, the party or parties
                               making said request shall file a notice
                                with the Court and e-mail the Court
                                      Reporter, Kristie Davis at
                                      kmdaviscsr@yahoo.com

                               Deadline to file replies to motions in
                                               limine
         June 24, 2024
         (Verizon case)
                               Parties email the Court’s law clerk to
       September 9, 2024          confirm pretrial and trial dates.
        (T-Mobile case)


          June 26, 2024             Deadline to meet and confer
                                regarding remaining objections and
                                   disputes on motions in limine.
          June 28, 2024        File joint notice identifying remaining
                                objections to pretrial disclosures and
                                   disputes on motions in limine.



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                 Date                               Event
         July 9, 2024 at 2p CT
         (For motions filed in
             Verizon case)
                                           Final Pretrial Conference.
         July 15, 2024 at 1:30p
                   CT
        (For motions filed only
           in T-Mobile case)
           August 19, 2024
           (Verizon Case)
                                             Jury Selection/Trial.
          November 4, 2024
           (T-Mobile Case)


SIGNED this 21st day of March, 2024.




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